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Peter J. Cresci, Plaintiff

c/o Cresei Firm

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File No. 25-8720

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

PETER J. CRESCI, INDIVIDUALLY;
JOHN DOES 1-5; JANES DOES 1-5;
Plaintiff(s),

DOMINIQUE D. BARABINO,
INDIVIDUALLY; THE JONES GROUP,
LLC; AND REALTY ONE GROUP
VISIONARIES; KELLER WILLIAMS
REALTY AUGUSTA PARTNERS; KELLER
WILLIAMS REALTY, INC.

Defendants.

CIVIL ACTION NO:

COMPLAINT & JURY DEMAND

Plaintiff Peter J. Cresci residing in the State of New Jersey, working in New York, by

and through its undersigned address, for its Complaint against Defendants Barabino; the Jones

Group, LLC; Realty One Group Visionaries; Keller Williams, hereby states the following.
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THE PARTIES

L. Plaintiff Cresci is an Individual and resident of the State of New Jersey.

2. Upon information and belief, Defendant Barabino currently resides 7514 Senators
Ridge Drive, Grovetown, GA 30813. Defendant The Jones Group, LLC and Defendant Realty
One Group Visionaries operate out of 1106 Broad Street, Ste. B, Augusta, GA 30901. Keller
Williams Realty Partners, and Defendant Keller Williams Realty, Inc. at 3633 Wheeler Road,
Suite 125, Augusta, GA 30909.

NATURE OF ACTION
3. This is an action lies in real estate transactions
4. and contract breach; Fraud; Conspiracy to Commit Fraud; Misrepresentation;

abuse under O.C.G.A. §§ 30-5-1 through 30-5-10; O.C.G.A. § 30-5-3; and tortious interference

of administration.

JURISDICTION AND VENUE

4, This Court has diversity jurisdiction over this action pursuant to under 28 U.S.C.
§1332(a)(1) because plaintiff and defendants are citizens of different states and the amount in
controversy exceeds $75,000.00, excluding interests and costs. Subject matter jurisdiction over
the state common law fraud claims arise under 28 U.S.C. §1367(a). Venue is proper in this
District pursuant to 28 U.S.C. 1391(b) and (c). All events occurred in Richmond County, State

of Georgia.

FACTS COMMON TO ALL COUNTS

5. Plaintiff hereby re-alleges and incorporates by reference the allegations of

paragraphs | through 4 of this Complaint as if fully set forth herein.
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6. Plaintiff is an heir, 1 of 5, of a decedent who was a resident Augusta, GA,
O.C.G.A. 53-3-6(a), and had a stake in a property at 318 Greene Street, Augusta as well as the

contents therein.

hs Defendant Barabino, Licensee #387881 is listed in state license records under the
Jones Group Augusta, LLC. Defendants listed and attempted to contract for the property at 318
Greene Street, Augusta, GA 30901 with Plaintiff's 87 year old Mother.

8. It appears the Defendant Barabino met Plaintiff's Mother at 318 Greene Street in
November 2023; she physically signed a listing agreement to a property she could not sell, as the
property was not totally owned by her. Mr. Barabino never saw her in person again between
November 2023 and throughout 2024.

9. Continuing with the fraud, Plaintiff was advised that the house was under contract
on December 5, 2023. Upon review of the signed contract, I noticed several items which were

incorrect, i.e. a chandelier was not excluded among other issues.

10. Defendants utilized DOTLOOP. Plaintiff noticed that his Mother’s Initials and
Signature were time stamped and dated for December 5, 2023 at 5:20 PM EST. Plaintiff knew
his mother could not have signed these documents as she was in Plaintiff's presence at 21 East
52d Street, New York, NY eating dinner in Berk’s Restaurant. Moreover, Plaintiff's mother
does not have a laptop nor a PC. Plaintiffs mother’s cell phone was not on her person and she

would have had to download the DOTLOOP App to access and sign these documents.

LL, Continuing with the fraud, Defendant Barabino was contacted on December 8,
2023. Defendant Barabino insisted that Plaintiff's mother signed the real estate contract. That
day, when Plaintiff inquired to his brother Joseph Cresci had reviewed and signed via

DOTLOOP, Joseph Cresci stated, “ no, and he had not seen a contract.”
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12. Continuing with the fraud, Defendant Barabino rejected a phone call from
Plaintiff's Real Estate Appraiser Brother Charles who has over 35 years in real estate. Defendant

Barabino refused to discuss the transaction.

13. Plaintiff's suspicion continued to rise, Plaintiff took it upon himself to check out the

signing of these documents purporting to be for the Sale of 318 Greene Street, Augusta, GA.

-DOTLOOP Leaves a Code when someone initials or signs the Contract;

-DOTLOOP Code/ID Number 4200850452 85, 86, & 87 show an IP Address of
104.28.33.120

-The IP Address utilized to sign the documents was Geo-located at 1105 Walton Way,
Augusta, GA 30907 (Fit Augusta) a gym wherein it appears that Defendant Barabino or a

member of his staff are members.

- Plaintiff's then 87 year old mother did not sign this Contract. Plaintiff's mother was not
present in Augusta, GA on December 5, 2023. Further, Plaintiff's mother has never been to Fit

Augusta.

14. Defendants sent contract to Contingency Buyers: Murphy (who had to sell their
Florida House by January 15, 2024 to meet a contingency; It was not met). The contract was
forwarded to various realtors, banks, and law firms purporting to sell a property, which could not
be sold. A contract that Plaintiffs mother had not signed. On December 14, 2024 Plaintiff's

mother finally admitted that she had not signed any “Murphy” contract documents.

15. ‘It is clear there was a Falsification of Transaction Documents and Misleading
Representations made by defendants. The Defendants did, as licensees, falsify or were a party to
the falsification of a document involved in a real estate transaction or knowingly represent, either

verbally or in writing, to a principal or any interested third party: (e)an artifice, contrivance, or
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machination with the intent to deceive. Any or all such practices shall constitute a

misrepresentation.

16. Defendants presented an offer/counteroffer as if it had been reviewed, signed by the
Plaintiff's mother. Plaintiff's mother could not convey the property, but did not even sign the

document.

17. Defendants committed failure of a licensee to include financing terms in a sales
contract having a financing contingency. Defendant Barabino failed to put in place financing

contingency regarding appraisal not meeting the sales price.

18. Defendants failed to provide a copy of any document used in a real estate transaction

to any individual signing such document.

19. Defendants are conducting business under a name other than that which is registered

with the State of Georgia.

20. Defendants allowed access into 318 Greene Street, Augusta 30901 to third parties
who removed items of Plaintiff and similarly situated individuals; specifically an arrangement
was for Caren Villanueva of Caring Transitions. Defendants were granting illegal access.

Villanueva and Caring Transactions were not invitees, licensees, nor guests.

21. Because the potential buyer “Murphy” could not purchase the property at 318 Greene

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Street, it appears a “use and occupancy,” similar to a short term lease was in place. The
Murphys seemingly removed cabinets, walls, removed property of the Plaintiff and similar

situated individuals.

22. Defendants continue to list the property and unilaterally dropped the asking price

55,000 within the last timeframe, without regard to market but the expiring list agreement.
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COUNT ONE
FRAUD & MISREPRESENTATION

23. Plaintiff hereby re-alleges and incorporates by reference the allegations of

paragraphs | through 22 of this Complaint as if fully set forth herein.

24. Defendants took actions to commit fraud, specifically they made utterances,
statements, and conveyed documents that were untrue, fraudulent, and designed to place

themselves in a better financial position.

25. Defendants made intentional misrepresentations of a material fact — A statement
of fact that is false, on purpose, and significant enough to matter. Defendants made statements

to third parties which significantly amended the rights of the Plaintiff.

26. .Defendants had knowledge that the representations were false —Defendants
conveyed documents that were fraudulent and submitted with the purpose to defraud the Plaintiff

and similarly situated individuals.

27. Reliance on the fact by the recipient of the information — The Murphys, their

Relator, their bank reasonably relied on the fraudulent information, or was supposed to rely on it.

28. Plaintiff and similarly situated individuals were damaged as a result of the
misrepresentation and reliance — Plaintiff has incurred and continues to incur financial damage

and some other harms.

29, Defendants made and conveyed writings that were fraudulent, untrue, and

designed to place themselves in a better financial position.
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COUNT TWO
CONSPIRACY TO COMMIT FRAUD

30. Plaintiff hereby re-alleges and incorporates by reference the allegations of

paragraphs | through 29 of this Complaint as if fully set forth herein.

31. Defendants did act to conspire with third parties to benefit themselves and their
business interests. Namely, Defendants conspired with third parties to sell a property without the

legal review, signature, contingencies required, in an effort to financially gain.

32. Defendants made false and fraudulent statements and took fraudulent actions with
third parties to commit said fraud. Likewise, Defendants took a myriad of phone calls, emails,

and meetings in which these parties conspired to commit fraud.

33. Defendants’ actions were designed by several parties in conspiracy to diminish

assets for themselves.

34. Defendants conspired with others in actions that were fraudulent, untrue, and

designed to place themselves in a better financial position.

COUNT THREE
CIVIL ELDER ABUSE UNDER 0O.C.G.A. §§ 30-5-1 through 30-5-10;
0.C.G.A. § 30-5-3
35. Plaintiff hereby re-alleges and incorporates by reference the allegations of

paragraphs | through 34 of this Complaint as if fully set forth herein.

36. The State Georgia has statutes to protect the aging population. Plaintiff's mother
is 88 years old, by definition she is an elder person; has a vision issue; and is neither privy nor

facile with computers, apps such as DOTLOOP. Defendants took actions that were false or
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providing misleading descriptions and representation of facts caused confusion and to cause

mistakes, and to deceive as to the manner, method, and actions of attempting to sell a property.

37. | Defendants’ actions were specific and targeted toward an 87 year elderly
individual and their actions exploited through illegal and improper means, deception, false

pretense, and false representation for Defendants’ own advantage.

38. Defendants’ actions, in taking advantage of an elderly person, cause financial and

emotional damage to Plaintiff and similar situated individuals.

39. Upon information and belief, Defendants’ wrongful activities have caused, and
unless enjoined by this Court will continue to cause, irreparable injury and other damage to

Plaintiff and similarly situated individuals.

DAMAGES

40. As a direct and proximate result of Defendants’ actions, Plaintiff suffered the

following damages for which a jury may award in the amount as follows:

41. | The amount of Compensatory Damages, with treble damages, that resulted from

the Defendants’ fraud and conspiracy to commit fraud; and

42. | The amount of Compensatory Damages, Punitive Damages, Liquidated Damages
that resulted from the Defendants’ commission of elder abuse which took place in late 2023 and

continues; and

43. Prejudgment and Post judgment Interest. Costs and Expenses of bringing this

lawsuit; and
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44. Allother relief the court and jury deem appropriate

JURY

45. Plaintiff requests a jury of his peers.
PRAYER

46. For these reasons, Plaintiff Requests a Judgment against Defendants for all the

Counts specified herein.

Respectfully submitted,

PETER J. CRESCI

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E. Mail: CRESCILEGAL@GMAIL.COM

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PETER . CRESCI, PLAINTIFF

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Dated: April 10, 2025
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